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 6                                      DISTRICT COURT OF GUAM
 7                                        TERRITORY OF GUAM
 8
 9    UNITED STATES OF AMERICA,                        CRIMINAL CASE NO. 20-00024

10                         Plaintiff,

11           vs.
                                                         APPOINTMENT ORDER
12    FRITZ VENTURA TADY GANZON,

13                         Defendant.

14
15          IT IS HEREBY ORDERED THAT the FEDERAL PUBLIC DEFENDER is appointed to

16   represent the Defendant.

17
                                                              /s/ Michael J. Bordallo
18                                                                U.S. Magistrate Judge
19                                                            Dated: Dec 01, 2020

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